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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                                                                * JUN 25 2015 *
                                                                                            1 4-CR-668                       BROOKLYN OFF"
 UNITED STATES OF AMERICA,
         -
                    - against -                                                            Statement of Reasons for Sentencing
                                                                                           Pursuant to 18 U.S.C. § 3553(c)(2)
 ALFREDO LOPEZ,

                                Defendant.


 JACK B. WEINSTEIN, Senior United States District Judge:                                                                                    t'l

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   I.    Introduction

         On December 11, 2014, Alfredo Lopez, a citizen of Mexico, was arrested for possession

 of fraudulent documents. Three months later, on March 3, 2015, defendant pled guilty to one

 count of passport fraud. See 18 U.S.C. § 1543.

             Mr. Lopez was sentenced to time served and a supervised release term of three years on

 June 8, 2015. The proceeding was videotaped to develop an accurate record of the courtroom

 atmosphere, as well as some of the subtle factors and considerations that a district court must

 consider in imposing a sentence. See In re Sentencing, 219 F.R.D. 262 5 264-65 (E.D.N.Y. 2004)

 (describing the value of video recording for possible review of sentences on appeal).

  II.        Offense Level and Category

             The total offense level is 15. The criminal history category is I, yielding a Sentencing

 Guidelines ("Guidelines") imprisonment range of 18-24 months. U.S.S.G. Ch. 5 Pt. A.

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 III. Law

        A sentencing court shall "state in open court the reasons for its imposition of the

 particular sentence." 18 U.S.C. § 3 553(c). If the sentence is not of the kind prescribed by, or is

 outside the range of, the Sentencing Guidelines referred to in section 3553(a)(4) of title 18, the

 court shall indicate the specific reasons for imposing a different sentence. See 18 U.S.C.

 § 3553(c)(2). These "reasons must also be stated with specificity in the written order of

 judgment and commitment." Id. Even though the mandatory nature of the Guidelines has been

 excised and they are now "advisory," United States v. Booker, 543 U.S. 220, 245-46 (2005), the

 sentencing court must still adhere to the requirements of section 3553(c)(2) of title 18, United

 States v. Jones, 460 F.3d 191 5 197 (2d Cir. 2006).

        The court's written statement of reasons shall be "a simple, fact-specific statement

 explaining why the Guidelines range did not account for a specific factor or factors under

 [section] 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006), abrogated in

 part on other grounds by Kimbrough v. United States, 552 U.S. 85 (2007). Such a statement

 should demonstrate that the court "considered the parties' arguments' and that it has a 'reasoned

 basis for exercising its own legal decisionmaking authority." United States v. Cavera, 550 F.3d

 180, 193 (2d Cir. 2008) (quoting Rita v. United States, 551 U.S. 338, 356 (2007)).

         In view of the excessive incarceration rates in the recent past and their unnecessary,

 deleterious effects on individuals sentenced, society and our economy, justifiable parsimony in

 incarceration is prized. See, e.g., 18 U.S.C. § 3553(a) ("The court shall impose a sentence

 sufficient, but not greater than necessary. . . ."); National Research Council of the National

 Academies, The Growth of Incarceration in the United States, Exploring Causes and




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 Consequences, 8 (2014) ("Parsimony: the period of confinement should be sufficient but not

 greater than necessary to achieve the goals of sentencing policy.").

 IV.     18 U.S.C. § 3553(a) considerations

         The court considered the "nature and circumstances of the offense and the history and

 characteristics of the defendant." 18 U.S.C. § 3553(a)(1). Mr. Lopez, who is now thirty-five

 years-old, was raised in impoverished circumstances in Mexico. His father abandoned the

 family when his mother passed away. Mr. Lopez was five years old. His twelve-year-old

 brother assumed responsibility for the family and defendant's seven siblings. All worked to

 meet the basic needs of the family.

         At seventeen, after completing two years of high school in Mexico, Mr. Lopez came to

 the United States. Since then, he has consistently worked construction jobs, residing in either

 New York or Connecticut.

         He met Teresa Perez, whom he considers his common-law wife, when he was nineteen.

 The two have been in a healthy and loving relationship for the past sixteen years. They have

 three children together: Astrid Andrea Lopez, age fifteen, Connie Lopez, age nine, and Angel

 Lopez, age four. Mr. Lopez is also the stepfather to Reina Perez, Teresa's daughter from another

 union. Since meeting his stepdaughter in 1999, Mr. Lopez has played a steadfast and positive

 role in her life.

         Prior to his arrest, defendant was the sole financial provider for the family. Mr. Lopez's

 middle child, Connie, who accompanied her mother and sister to her father's sentencing, has had

 great difficulty accepting her father's arrest. An extended prison sentence will cause significant

 harm to the health of the children.




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  V.    Sentence

        Under section 3553(a)(2)(B) of title 18, a sentencing court must consider two major

 factors: general and specific deterrence. The prospect of deportation was considered in Mr.

 Lopez's sentencing. See, e.g., United States v. Chin Chong, No. 13-CR-570, 2014 WL 4773978 5

 at *13 (E.D.N.Y. Sept. 24, 2014).

        In light of the nature and circumstances of the offense, and the history and characteristics

 of the defendant, on June 8, 2015, Mr. Lopez was sentenced to time served and a supervised

 release term of three years. See supra Part IV; U.S.S.G. § 5D1.1(a). A $100 special assessment

 was imposed. See 18 U.S.C. § 3013(a)(2)(A). No fine was levied and no restitution ordered

 because defendant does not possess substantial assets in the United States or in Mexico and is

 unlikely to possess such assets in the future.

 VI.     Conclusion

         General and specific deterrence are achieved by the sentence imposed. All relevant

 elements of the Guidelines and statutes have been considered. Respectful consideration was

 given to the Sentencing Commission's policy statements, and all other factors listed under

 section 3553(a) of title 18, to ensure that the sentence is "sufficient, but not greater than

 necessary, to comply with the purposes" of sentencing. 18 U.S.C. § 3553(a).



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                                                         tack B. Weinstein
                                                         Senior United States District Judge


 Dated: June 15, 2015
        Brooklyn, New York
